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                                                              SWEENEY LEV
                                                                              A Limited Liability Company
                                                                             Attorneys at Law
GERALD B. SWEENEY
 NJ, IL, CA & NY BARS                                                                                                                                          New York Office:
                                                                     460 Bloomfield Avenue, Suite 200
GARY B. SCHMIDT                                                      Montclair, New Jersey 07042-3552                                                       909 Third Avenue, #6111
 NY & FL BARS                                                              Tel: 973-509-1800                                                               New York, NY 10150-2062
                                                                           Fax: 973-509-1074                                                                   Tel: 212-370-4000
Of Counsel
RITA P. CAMPANILE                                                        www.sweeneylev.com
 NJ & NY BARS


                                                                                         May 2, 2024

         By ECF
         The Honorable Daniel J. Stewart
         United States District Court
         Northern District of New York
         James T. Foley U.S. Courthouse
         445 Broadway, Room 424
         Albany, NJ 12207

         Re:          Wang, Plaintiff v. Bethlehem Central School District and Jody Monroe, Defendants
                      Civ. No. 1:21-cv-01023-LEK-DJS - Defendants’ Discovery Deficiencies

         Dear Magistrate Judge Stewart:

               We represent Plaintiff, Juneau Wang, in the above matter; and we write to request
         your assistance in resolving discovery disputes and deposition scheduling problems
         pursuant to Local Rule 37.1 and in response to Attorney Levine’s letter (Dkt. 29) today.

                 In our May 1, 2024 letter (Dkt. 58), we requested: 1) Your Honor’s assistance in
         scheduling the deposition of Ms. Dellenbaugh, for which Defendants have failed to
         identify any available dates for her since April 8, 2024; and 2) Your Honor’s assistance in
         helping timely resolve certain time-critical discovery disputes and to secure Defendants’
         commitment to timely produce the supplemental documents.

               To accomplish that, we made the simple and routine request that Your Honor
         schedule a conference by Zoom or other remote means this week to address these
         urgent discovery problems. We offered to file with the Court, as and when directed by
         Your Honor, Plaintiff’s letters detailing Defendants’ discovery deficiencies and requesting
         supplementation, Defendants’ reply letter, and Defendants’ deficient discovery responses,
         as require by local Rule 26.2. We also communicated with the partner on the case
         (Monica Lenahan) to request that she call me to attempt to amicably address the open
         matters regarding Ms. Dellenbaugh’s deposition and to commit to a date for supplemental
         production of documents. But she failed to do that.

                In response to our reasonable request, Defendants submitted a 6-page letter today
         (Dkt. 59) with 18 discovery-related exhibits objecting to a conference, complaining about


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Plaintiff’s efforts to obtain a date for the deposition of Ms. Dellenbaugh and the
documentary discovery needed for upcoming depositions, and making numerous
baseless assertions. In addition to unduly complicating the matter and distracting from the
limited request made, Defendants made inaccurate and/or misleading assertions about
their efforts to provide a date for Ms. Dellenbaugh’s deposition and to comply with
discovery and Plaintiff’s efforts to get answers to routine inquiries. The inaccuracies of
Ms. Levine’s assertions are readily apparent from a careful review of the exhibits
accompanying Ms. Levine’s letter, including Exhibits B, E., O, and R. If needed, I will
detail and respond to such inaccurate assertions.

       Defendants also filed the 18 discovery-related exhibits (many email chains
duplicating other email chain exhibits), contrary to the clear and express directive of Local
Rule 26.2 not to file such documents unless the court ordered otherwise. Such filings
excessively complicate the discovery matters at issue, distract the Court from the simple
request for a conference, and waste the parties’ time. It is also disappointing and
surprising that Attorney Levine (who was said to be out all week and unavailable to
confer) devoted so much time and effort to complaining about reasonable requests for
deposition dates for Ms. Dellenbaugh and to opposing the conference, rather than 1)
obtaining and providing the available dates for Ms. Dellenbaugh’s deposition; and 2)
obtaining and providing the document production which it promised on 04/26/24 to
provide after it completed its searches and had been properly requested by Plaintiff for
production on 02/05/24 and again on 04/17/24.

       As noted in our May 1st letter to Your Honor, Defendants have failed to offer any
available deposition dates for their client BOE President Dellenbaugh and have been
materially late in their responses to all of Plaintiff’s discovery requests. More importantly,
they have been materially deficient in producing the relevant documents requested and
needed for the two upcoming scheduled depositions on May 9th and 10th. There are no
excuses for such defaults. The conference would be limited to two matters: 1) deposition
availability dates for Ms. Dellenbaugh; and 2) the supplement document production,
which Plaintiff requested by May 6, 2024, or promptly thereafter.

       Attorney Levine’s letter further shows that a conference is needed so that the
parties can talk to and confer with each other directly and in good faith to resolve the long
open matters, rather than exchanging email messages and letters. Please schedule the
conference on Friday May 3rd or Monday May 6th, if feasible

             Thank you for your consideration of this.

                                                                                Respectfully submitted,
                                                                                /s/ Gerald B. Sweeney
                                                                                Gerald B. Sweeney, Esq.

GBS/gg

cc: All parties by ECF




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